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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    YENG CONG HONG
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. 2:11 CR 00166-MCE
                                     )
12                   Plaintiff,      )
                                     )      STIPULATION AND TO CONTINUE
13        v.                         )      DISCOVERY MOTION HEARING
                                     )
14   YENG CONG HONG,                 )      Date: November 6, 2012
     et al.,                         )      Time: 2:00 p.m.
15                                   )      Judge: Hon. Gregory G. Hollows
                     Defendants.     )
16                                   )
     _______________________________ )
17
          IT IS HEREBY STIPULATED between the parties, TODD LERAS, Assistant
18
     United States Attorney; DOUGLAS BEEVERS, Assistant Federal Defender,
19
     attorney for defendant YENG CONG HONG hereby stipulate that the discovery
20
     motion set for November 6, 2012 be reset to November 9, 2012.
21
22
     Dated: November 5, 2012                Respectfully submitted,
23
                                            DANIEL BRODERICK
24                                          Federal Defender
25                                          /s/ Doug Beevers
                                            DOUG BEEVERS
26                                          Assistant Federal Defender
                                            Attorney for Defendant
27                                          YENG CONG HONG
28
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1    Dated: November 5, 2012                  BENJAMIN B. WAGNER
                                              United States Attorney
2
                                       By:    /s/ Todd Leras
3                                             TODD LERAS
                                              Assistant U.S. Attorney
4                                             Attorney for Plaintiff
5
                                             ORDER
6
          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
7
     ordered that the      hearing on defendant Yeng Hong’s discovery motion
8
     presently set for November 6, 2012, be continued to November 9, 2012, at
9
     2:00 p.m.
10
     Dated:   November 6, 2012
11
12
13                              /s/ Gregory G. Hollows
                        UNITED STATES MAGISTRATE JUDGE
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     Stip and Order                          -2-
